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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


GEORGE SINK, P.A. INJURY LAWYERS,      )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )                     Civil Case No, 2:19-cv-01206-DCN
                                       )
GEORGE SINK II LAW FIRM, LLC,          )
GEORGE SINK LAW FIRM, LLC,             )
SOUTHERN LEGAL ASSOCIATION, LLC, )
AND GEORGE (“TED”) SINK, JR.,          )
                                       )
      Defendants.                      )
                                       )
_______________________________________)


                       PLAINTIFF’S RESPONSE TO DEFENDANTS’
                                MOTION TO DISMISS

          Plaintiff George Sink, P.A. Injury Lawyers hereby submits its Response to the Motion to

Dismiss filed by the Defendants, George Sink II Law Firm, LLC, George Sink Law Firm, LLC,

Southern Legal Association, LLC, and George T. Sink, Jr. (collectively “Defendants”). For the

reasons stated herein, Plaintiff requests that this Court deny the Defendants’ Motion as moot.

     I.     RELEVANT BACKGROUND

          On April 25, 2019, Plaintiff initiated this action by filing its Complaint seeking injunctive

relief against all of the named Defendants. (ECF No. 1). After accepting service, the Defendants

filed their Motion to Dismiss, pursuant to Federal Rule of Procedure 12(b)(6). (ECF No. 11). In

their Motion, the Defendants ask the Court to dismiss the Plaintiff’s Complaint in its entirety on

various grounds, including the Plaintiff’s alleged overreaching in its request for relief, its public

filing of the Complaint, its failure to provide the Court a copy of the referenced Non-Solicitation

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Agreement, and other actions which the Defendants claim would bar Plaintiff’s entitlement to

injunctive relief under the doctrine of unclean hands. Id. Subsequently, on May 21, 2019, the

Plaintiff filed its First Amended Complaint. (ECF No. 17). The filing of Plaintiff’s amended

complaint rendered the initial Complaint inoperative and thus the Defendants’ Motion to Dismiss

that Complaint is now moot.

    II. ARGUMENT

       In the Fourth Circuit, “it is well-settled that an amended pleading supersedes the original

pleading, and that motions directed at superseded pleadings are to be denied as moot.” Invue

Sec. Prods. v. Mobile Tech, Inc., No. 3:17-cv-00270-MOC-DSC, 2017 U.S. Dist. LEXIS 102692

at *1 (W.D.N.C. July 3, 2017), citing Young v. City of Mt. Rainier, 238 F.3d 567, 571 (4th Cir.

2001) (as a general rule, an amended pleading ordinarily supersedes the original and renders it of

no legal effect). See also Daniels v. Arcade, L.P., 477 Fed. Appx. 125, 130 (4h Cir. 2012); 6

Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice & Procedure §1476

(2d ed. 1990) (once an amended pleading is filed, the original pleading no longer performs any

function in case).

        Following the language of the Young decision, many of the district courts in this Circuit

have held that motions to dismiss an original complaint are thereby rendered moot by the filing

of an amended complaint. See, e.g., Turner v. Kight, 192 F. Supp. 2d 391, 397 (D. Md. 2002)

(denying as moot defendants’ first motions to dismiss directed to original complaint and

considering only the second motions to dismiss the amended complaint). See also Avila-Miranda

v. Reynolds, No. 1:18CV120, 2019 U.S. Dist. LEXIS 39336, at * 21-22 (M.D.N.C. March 12,

2019) (motions directed at a superseded pleading are to be denied as moot); Messinger v.

Window World, Inc., No. 2:18-cv-00912, 2018 U.S. Dist. LEXIS 17234, at *4 (S.D.W.V. Oct. 5,

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2018) (same); Monroe v. Taurus Holdings, Inc., No. 5:17-CV-00604-FL, 2018 U.S. Dist. LEXIS

24053, at *2 (E.D.N.C. Feb. 14, 2018); Hall v. Int’l Union, No. 3:10-cv-418-RJC-DSC, 2011

U.S. Dist. LEXIS 66084, at *2 (W.D.N.C. June 21, 2011).

       In conformity with the other lower courts of this Circuit, the Judges of this Court have

also concluded that motions to dismiss filed prior to the amendment of a pleading such as a

complaint are rendered moot as a result of the filing of an amended complaint. See Schmitt v.

Lewis-Goetz & Co., No. 3:17-cv-01557-JMC, 2017 U.S. Dist. LEXIS 180116, at *1 n.1 (D.S.C.

Oct. 31, 2017) (J. Childs); Parker v. G4S Secure Solutions USA, Inc., No. 8:16-2993, 2016 U.S.

Dist. LEXIS 173518, at *2 (D.S.C. Oct. 27, 2016) (J. McDonald); McClaugherty v. Ga. Stone

Indus., No. 3:14-cv-02864-MGL, 2015 U.S. Dist. LEXIS 33237, at *2 (D.S.C. Mar. 18, 2015) (J.

Lewis); Bolt v. United States, No. 8:15-1936-HMH, 2015 U.S. Dist. LEXIS 121783, at *2

(D.S.C. Sept. 14, 2015) (J. Herlong); McCoy v. City of Columbia, No. 3:10-132-JFA-JRM, 2010

U.S. Dist. LEXIS 90820 at *3 (D.S.C. Aug. 31, 2010) (J. Anderson).

       In this case, Plaintiff’s First Amended Complaint, filed pursuant to Rule 15(a)(1)(B) on

May 21, superseded its original Complaint and rendered that pleading of no legal effect.

Consequently, Defendants’ Motion to Dismiss directed to the original Complaint must be denied

as moot.

     III.   CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court deny the

Defendants’ Motion to Dismiss as moot.




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